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 4                                   UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6                                                     ***
 7      UNITED STATES OF AMERICA,                                 Case No. 2:17-cr-00180-JAD-PAL
 8                                             Plaintiff,
                v.                                                             ORDER
 9
        CHANNING WILLIAMS,                                          (Subst. Atty. – ECF No. 230)
10
                                             Defendant.
11

12            This matter is before the court on the Substitution of Attorney (ECF No. 230) filed
13     December 5, 2017. Gabriel L. Grasso seeks leave to be substituted in the place and stead of Paul
14     Riddle, Assistant Federal Public Defender, for Defendant Channing Williams. LR IA 11-6(c)
15     provides that the signature of an attorney to substitute in a case “constitutes an express acceptance
16     of all dates then set for pretrial proceedings, for trial or hearing, by the discovery plan, or in any
17     court order.” LR IA 11-6(d) also provides that the substitution of an attorney “shall not alone be
18     reason for delay of pretrial proceedings, discovery, the trial, or any hearing in this case.”
19            Having reviewed and considered the matter,
20            IT IS ORDERED:
21            1. The Substitution of Attorney (ECF No. 230) is GRANTED.
22            2. Gabriel L. Grasso is substituted in the place of Paul Riddle, Assistant Federal Public
23                   Defender for Defendant Channing Williams subject to the provisions of LR IA 11-6(c)
24                   and (d).
25            Dated this 7th day of December, 2017.
26

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                                                                PEGGY A. LEEN
28                                                              UNITED STATES MAGISTRATE JUDGE
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